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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Northern Division


UNITED STATES OF AMERICA,              )
        w                              )               Case No. 1:16-cv-0810
        Plaintiff,                     )
                                       )
         v.                            )
                                       )
J.A. SUBWAY, INC. and JAMIU LAWAL,     )
                                       )
                                       )
         Defendants.                   )
_______________________________________)


                       JOINT MOTION TO CONTINUE HEARING

       The parties jointly move to continue for at least 45 days the hearing scheduled to be held

on August 30, 2017 at 2:00 p.m. In support thereof, the parties aver as follows:

   1. On May 5, 2017, the United States filed a Motion for an Order Directing Defendants to

Show Cause why they should not be held in contempt for their failure to comply with the Court’s

order of permanent injunction. Dkt. No. 19.

   2. A hearing on the United States’ motion was held on July 24, 2017, and was continued to

August 30, 2017 to allow Defendant Jamiu Lawal to consult with counsel. Dkt. No. 23.

   3. The parties are currently attempting to resolve this issue without further litigation, and

respectfully request an additional 45 days to allow Mr. Lawal time to cure his contempt, and for

any federal employment tax payments made by him via check or money order to post to his

account.

   4. No party will be prejudiced by continuance of the scheduled hearing.
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   WHEREFORE, the parties jointly request the hearing scheduled to be held on August 30,

2017 be continued for at least 45 days.


DATED: August 28, 2017                           Respectfully submitted,

                                                 DAVID A. HUBBERT
                                                 Acting Assistant Attorney General

                                                 STEPHEN SCHENNING
                                                 Acting United States Attorney

                                                 /s/Joycelyn S. Peyton
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